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                  IN THE UNITED STATES DISTRICT COURT FOR THE
                            DISTRICT OF NEW MEXICO

HUMAN RIGHTS DEFENSE CENTER,
a not-for-profit corporation,                                 Case No.:

                        Plaintiff,                            COMPLAINT FOR
                                                              DECLARATORY AND
v.                                                            INJUNCTIVE RELIEF UNDER
                                                              THE CIVIL RIGHTS ACT 42
(1) SAN MIGUEL COUNTY, NM;                                    U.S.C. § 1983 AND DAMAGES

(2) MATT ELWELL, Warden,                                      JURY TRIAL DEMANDED
individually and in his official capacity;

(3) ANTONIO PADILLA, Deputy Warden,
individually and in his official capacity,

(4) JOHN AND JANE DOES 1-10, Staff,
individually and in their official capacities,

                        Defendants.                     
 

                                       I.        INTRODUCTION

        1.      For decades, the United States Supreme Court has recognized that the freedom to

read and correspond with the outside world while incarcerated carries important benefits to both

prisoners and society as a whole. To this end, Plaintiff, the Human Rights Defense Center

(“HRDC” or “Plaintiff”), provides incarcerated persons across the United States with publications

regarding their legal and civil rights, as well as options for accessing education while incarcerated.

However, Defendants’ mail policies and practices unconstitutionally prohibit delivery of

Plaintiff’s books to prisoners housed in the San Miguel County Detention Center (the “Jail”), in

violation of the First Amendment to the United States Constitution. Defendants’ policies and

practices also deny due process of law to senders whose mail is censored, such as Plaintiff, by

failing to provide notice of and an opportunity to challenge each instance of censorship as required

by the Fourteenth Amendment to the United States Constitution. HRDC brings this action to
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enjoin Defendants’ censorship of its books mailed to prisoners held in the Jail, and to require

Defendants to provide due process when they reject items sent to prisoners at that facility.

                                II.     JURISDICTION AND VENUE

    2. This action is brought pursuant to 42 U.S.C. § 1331 (federal question), as this action arises

under the Constitution and laws of the United States, and pursuant to 28 U.S.C. § 1343 (civil

rights), as this action seeks redress for civil rights violations under 42 U.S.C. § 1983.

    3. Venue is proper under 28 U.S.C. § 1391(b). At least one Defendant resides within this

judicial district, and the events giving rise to the claims asserted herein all occurred within this

judicial district.

    4. HRDC’s claims for relief are predicated upon 42 U.S.C. § 1983, which authorizes actions

to redress the deprivation, under color of state law, of rights, privileges and immunities secured to

HRDC by the First and Fourteenth Amendments to the U.S. Constitution and the laws of the United

States.

    5. This Court has jurisdiction over claims seeking declaratory and injunctive relief pursuant

to 28 U.S.C. §§ 2201 and 2202, and Rules 57 and 65 of the Federal Rules of Civil Procedure, as

well as nominal and compensatory damages, against all Defendants.

    6. HRDC’s claim for attorneys’ fees and costs is predicated upon 42 U.S.C. § 1988, which

authorizes the award of attorneys’ fees and costs to prevailing plaintiffs in actions brought pursuant

to 42 U.S.C. § 1983.

    7. HRDC is informed, believes, and based thereon alleges that the individual Defendants

acted as described herein with the intent to injure, vex, annoy, and harass HRDC, and subjected

HRDC to cruel and unjust hardship in conscious disregard of HRDC’s rights with the intention of

causing HRDC injury and depriving it of its constitutional rights.

    8. As a result of the foregoing, HRDC seeks injunctive and declaratory relief, as well as

compensatory and punitive damages against the individual Defendants.

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                                           III. PARTIES

    9. The Human Rights Defense Center is a not-for-profit charitable organization recognized

under § 501(c)(3) of the Internal Revenue Code, incorporated in the State of Washington and with

principal offices in Lake Worth, Florida. The purpose of HRDC is to educate prisoners and the

public about the destructive nature of racism, sexism, and the economic and social costs of prisons

to society. HRDC accomplishes its mission through advocacy, litigation, and the publication

and/or distribution of books, magazines, and other information concerning prisons and prisoner

rights.

    10.    Defendant San Miguel County, New Mexico (the “County”) is a unit of government

organized and existing under the laws of the State of New Mexico. The County operates the Jail,

and is and was responsible for adopting and implementing mail policies governing incoming mail

for prisoners at that facility.

    11.    Defendant Matt Elwell is the Warden of the Jail. Defendant Elwell is employed by and

is an agent of Defendant County, and has ultimate responsibility for the promulgation and

enforcement of all Jail staff policies and procedures and is responsible for the overall management

of the Jail, to include processing of mail. He is sued in his individual and official capacities.

    12.    Defendant Antonio Padilla is the Deputy Warden of the Jail. Defendant Padilla is

employed by and is an agent of Defendant County, and on information and belief he is personally

involved in the adoption and/or implementation of the mail policies at issue, as well as overseeing

and coordinating the mail policies and practices at the Jail. He is sued in his individual and official

capacities.

    13.    The true names and identities of Defendants DOES 1 through 10 are presently unknown

to HRDC. Each of Defendants DOES 1 through 10 are or were employed by and are or were

agents of Defendants when some or all of the challenged inmate mail policies and practices were

adopted and/or implemented. Each of Defendants DOES 1 through 10 were personally involved

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in the adoption and/or implementation of the mail policies at the Jail, and/or were responsible for

the hiring, screening, training, retention, supervision, discipline, counseling, and/or control of the

Jail staff who interpret and implement these mail policies. HRDC will seek to amend this

Complaint as soon as the true names and identities of Defendants DOES 1 through 10 have been

ascertained.

    14.   At all times material to this action, the actions of all Defendants as alleged herein were

taken under the authority and color of state law.

    15.   At all times material to this action, all Defendants were acting within the course and

scope of their employment as agents and/or employees of Defendant County.

                                     IV.    FACTUAL ALLEGATIONS

    A.         HRDC’s mission and outreach to the San Miguel County Detention Center

    16.    For more than 27 years, the focus of HRDC’s mission has been public education,

advocacy and outreach on behalf of, and for the purpose of assisting, prisoners who seek legal

redress for infringements of their constitutionally guaranteed and other basic human rights.

HRDC’s mission, if realized, has a salutary effect on public safety.

    17.    To accomplish its mission, HRDC publishes and distributes books, magazines, and

other information containing news and analysis about prisons, jails and other detention facilities,

prisoners’ rights, court rulings, management of prison facilities, prison conditions, and other

matters pertaining to the rights and/or interests of incarcerated individuals.

    18.    HRDC publishes and distributes an award-winning, 72-page monthly magazine titled

Prison Legal News: Dedicated to Protecting Human Rights, which contains news and analysis

about prisons, jails, and other detention facilities, prisoners’ rights, court opinions, management

of prison facilities, prison conditions, and other matters pertaining to the rights and/or interests of

incarcerated individuals.



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    19.    More recently, HRDC also began publishing a second monthly magazine, Criminal

Legal News. This magazine focuses on review and analysis of individual rights, court rulings, and

news concerning criminal justice-related issues.

    20.    Additionally, HRDC publishes and/or distributes approximately 50 different softcover

books about the criminal justice system, legal reference books, and self-help books of interest to

prisoners. These books are designed to foster a better understanding of criminal justice policies

and to allow prisoners to educate themselves about related issues, such as legal research, how to

write a business letter, health care issues, and similar topics.

    21.    HRDC has thousands of customers in the United States and abroad, including prisoners,

attorneys, journalists, public libraries, judges, and members of the general public. Since its

creation in 1990, HRDC has sent its publications to prisoners and law librarians in more than 3,000

correctional facilities located across all 50 states, including the Federal Bureau of Prisons and

various facilities within the State of New Mexico.

    22.   HRDC engages in core protected speech and expressive conduct on matters of public

concern, such as the operation of prison facilities, prison conditions, prisoner health and safety,

and prisoners’ rights. HRDC’s publications, as described above, contain political speech and

social commentary, which are core First Amendment rights and are entitled to the highest

protection afforded by the United States Constitution.

    23.   Defendants have adopted a policy and practice of arbitrarily prohibiting receipt of

HRDC’s publications sent to individual prisoners at the Jail. Specifically, since February 2016,

HRDC has sent the following materials to prisoners held at the Jail: 1) issues of the monthly

magazine Prison Legal News; 2) The Habeas Citebook: Ineffective Assistance of Counsel

(“Habeas Citebook”), which describes the procedural and substantive complexities of federal

habeas corpus litigation with the goal of identifying and litigating claims involving ineffective

assistance of counsel; 3) Prisoners’ Guerilla Handbook: A Guide to Correspondence Programs in

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the United States and Canada (“Prisoners’ Handbook”), which provides prisoners information on

enrolling at accredited higher educational, vocational and training schools, and (4) Protecting Your

Health and Safety (“PYHS”), which describes the rights, protections and legal remedies available

to prisoners concerning their incarceration.

    24.     Defendants censored these publications and did not deliver them to the intended

prisoner-recipients at the Jail. Since February 1, 2016, HRDC sent copies of the items listed in

paragraph 24 to various prisoners at the Jail. Each of these items were individually addressed and

separately mailed. Nineteen books were returned to HRDC in their original packaging, marked

“Refused.” Additionally, sixteen copies of Prison Legal News and five copies of Criminal Legal

News were also returned to HRDC.

    25.     On information and belief, other publications mailed by HRDC to persons incarcerated

at the Jail were also censored by Defendants.

    26.     Further, Defendants failed to provide HRDC any notice or opportunity to appeal these

censorship decisions.

    27.     Plaintiff will continue to mail copies of its books and other publications to subscribers,

customers, and other individuals imprisoned at the Jail, but seeks the protection of this Court to

ensure that the materials are delivered and, if not, that due process is afforded to the Plaintiff so it

may challenge the basis for any censorship.

       B.     Defendants’ Unconstitutional Mail Policies and Practices

    28.     Defendants’ mail policy and practice bans publications sent by HRDC and other senders

to prisoners at the Jail. Accordingly, Defendants’ mail policies and practices violate HRDC’s First

Amendment right to free speech.

    29.     Furthermore, Defendants engage in a policy or practice that fails to provide senders of

censored mail notice and an opportunity to appeal the censorship of the mail to the intended

prisoner. Accordingly, such policy violates HRDC’s Fourteenth Amendment rights to due process.

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     30.   Said mail policies and practices are the moving force behind the constitutional violations

at issue herein.

     31.   The accommodation of the free speech and due process rights of HRDC with respect to

written speech protected by the Constitution will not have any significant impact on the Jail, its

staff or prisoners.

     32.   Due to Defendants’ actions as described above, HRDC has suffered damages, and will

continue to suffer damages, including, but not limited to: the suppression of HRDC’s speech; the

impediment of HRDC’s ability to disseminate its political message; frustration of HRDC’s non-

profit organizational mission; the loss of potential subscribers and customers; and the inability to

recruit new subscribers and supporters, among other damages.

     33.   Defendants’ actions and inactions were and are motivated by ill-motive and intent, and

were and are all committed under color of law with deliberate indifference to HRDC’s rights.

     34.   Defendants, and other agents of the Jail, are responsible for or personally participated

in creating and implementing these unconstitutional policies, practices, and customs, or for

ratifying or adopting them. Further, Defendants are responsible for training and supervising the

staff persons whose conduct has injured and continues to injure HRDC.

     35.   Defendants’ unconstitutional policy, practices, and customs are ongoing, continue to

violate HRDC’s rights, and were and are the moving force behind the injuries HRDC suffered as

a direct result of the constitutional violations. As such, HRDC has no adequate remedy at law.

     36.   Without relief from this Court HRDC will suffer irreparable injury, since its

fundamental free speech and due process rights are being denied. The balance of hardships favors

the Plaintiff and the public interest will be served by granting injunctive and declaratory relief.

     37.   HRDC is entitled to declaratory relief as well as injunctive relief prohibiting Defendants

from refusing to deliver publications and correspondence from HRDC and other senders without

any legal justification, and prohibiting Defendants from censoring mail without due process of

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law.

                                            IV. CLAIMS
                                     Count I – 42 U.S.C. § 1983
                           Violation of the First Amendment (Censorship)

       38.   HRDC re-alleges and incorporates the allegations of Paragraphs 1 through 36 of the

Complaint as if fully set forth herein.

       39.   The acts described above constitute violations of HRDC’s rights and the rights of other

publishers who have attempted to or intend to communicate with prisoners at the Jail, under the

First Amendment to the United States Constitution.

       40.   HRDC has a constitutionally protected liberty interest in communicating with

incarcerated individuals, a right clearly established under existing case law.

       41.   The conduct of Defendants was objectively unreasonable and was undertaken

recklessly, intentionally, willfully, with malice, and with deliberate indifference to the rights of

others.

       42.   HRDC’s injuries and the violations of its constitutional rights were directly and

proximately caused by the policies and practices of Defendants, which were and are the moving

force of the violations.

       43.   Defendants’ acts described above have caused damages to HRDC, and if not enjoined,

will continue to cause damage to HRDC.

       44.   HRDC seeks declaratory and injunctive relief, and nominal, compensatory and punitive

damages against all Defendants. HRDC seeks punitive damages against the individual Defendants

in their individual capacities.

                                   Count II – 42 U.S.C. § 1983
                        Violation of Fourteenth Amendment (Due Process)

       45.   HRDC re-alleges and incorporates the allegations of Paragraphs 1 through 43 of the

Complaint as if fully set forth herein.


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    46.     The acts described above constitute violations of HRDC’s rights and the rights of other

publishers who have attempted to or who intend to communicate with prisoners at the Jail under

the Fourteenth Amendment to the United States Constitution.

    47.     Because HRDC and others outside the Jail have a liberty interest in communicating

with prisoners, HRDC and other senders have a right under the Due Process Clause of the

Fourteenth Amendment to receive notice of and an opportunity to appeal Defendants’ decisions to

censor their written speech.

    48.     Defendants’ policy and practice fail to provide HRDC and other senders with adequate

notice and an opportunity to be heard.

    49.     The conduct of Defendants was objectively unreasonable and was undertaken

recklessly, intentionally, willfully, with malice, and with deliberate indifference to the rights of

others.

    50.     HRDC’s injuries and the violations of its constitutional rights were directly and

proximately caused by the policies and practices of Defendants, which are and were the moving

force of the violations.

    51.     Defendants’ acts described above have caused damages to HRDC, and if not enjoined,

will continue to cause damage to HRDC.

    52.     HRDC seeks declaratory and injunctive relief, and nominal and compensatory damages

against all Defendants. HRDC seeks punitive damages against the individual Defendants in their

individual capacities.

                                   V.    REQUEST FOR RELIEF

    WHEREFORE, the Plaintiff respectfully requests relief as follows:

    53.     A declaration that Defendants’ policies and practices violate the Constitution.

    54.     Nominal damages for each violation of HRDC’s rights by the Defendants.



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    55.    A preliminary and permanent injunction preventing Defendants from continuing to

violate the Constitution, and providing other equitable relief.

    56.    Compensatory damages in an amount to be proved at trial.

    57.    Punitive damages against the individual Defendants in an amount to be proved at trial.

    58.    Costs, including reasonable attorneys’ fees, under 42 U.S.C. § 1988, and under other

applicable law.

    59.    Any other such relief that this Court deems just and equitable.

                                       VI. JURY DEMAND

    Plaintiff, Human Rights Defense Center, by and through its attorneys, hereby demands a trial

by jury pursuant to Federal Rule of Civil Procedure 38(b) on all issues so triable.


                                                      Respectfully Submitted,


                                                      KENNEDY KENNEDY & IVES

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